                                                                                                             FILED
  Case 3:15-cv-00645-L Document 1-4 Filed 02/26/15                      Page 1 of 38 PageID 11 DALLAS COUNTY
                                                                                            1/23/2015 2:55:49 PM
                                                                                                      FELICIA PITRE
                                                                                                    DISTRICT CLERK


                                                                                                  Tonya Pointer

                                               DC-15-00833
                                CAUSE NO.

GAIL EPKIN                                       §             IN THE DISTRICT COURT
                                                 §
                                                 §
V.                                               §         L-193RD JUDICIAL COURT
                                                 §
                                                 §
STATE FARM LLOYDS,                               §
JARED LEINENGER AND                              §             DALLAS COUNTY,
KEVIN JACKSON                                    §             TEXAS


                             PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW Comes Gail Epkin, hereinafter referred to as "Plaintiff," complaining of

Defendants, State Farm Lloyds, Jared Leinenger and Kevin Jackson (hereinafter collectively

referred to as "Defendants") and hereby respectfully shows unto the Court and Jury as follows:

                               I, DISCOVERY CONTROL PLAN

        Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas

Rules of Civil Procedure.       This case involves complex issues and will require extensive

discovery. Therefore, Plaintiff asks the Court to order that discovery be conducted in accordance

with a discoveiy control plan tailored to the particular circumstances of this suit.

                                           II. PARTIES

       Plaintiff, Gail Epkin, is an individual and resident of Texas.

       Defendant, State Farm Lloyds ("State Farm"), is a Texas domestic Lloyd's plan insurance

company that, on information and belief, is licensed to conduct the business of insurance in

Texas and/or has its principal place of business located in Texas. Additionally, one or more of

State Farm's "members' are citizens of Texas. It can be served with citation by serving its



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registered agent, Rendi Black c/o State Farm, by certified mail, return receipt requested, at 17301

Preston Road, Dallas, Texas 75252-5727.

        Defendant, Jared Leinenger ("Leinenger"), is a citizen of Mississippi who can be served

with process by certified mail, return receipt requested, at 7477 Bergin Road, Howell, M I 48843,

or wherever else he may be found.

       Defendant, Kevin Jackson ("Jackson"), is a citizen of Texas who can be served with

process by certified mail, return receipt requested, at 17301 Preston Road, Dallas, Texas 75252,

or wherever else he may be found.

                              III. JURISDICTION AND VENUE

       This Court has jurisdiction over this case in that the amount in controversy exceeds the

minimum jurisdictional limits of this Court.

       Venue is mandatory and proper in Dallas County, Texas, because all or a substantial part

of the events giving rise to the lawsuit occurred in this county (see Tex. Civ. Prac. & Rem. Code

§15.002) and the insured property that is the basis of this lawsuit is located in Dallas County,

Texas. See Tex. Ins. Code §2210.552 and Tex. Civ. Prac. & Rem. Code §15.032 (see below).

Venue is proper and mandatory in Dallas County against all the Defendants in this case because

venue is mandatory and/or proper against at least one Defendant and all claims or actions in this

case arise out of the same transaction, occuixence, or series of transaction or occurrences. See

Tex. Civ. Prac. & Rem. Code §15.005.

                              IV. CONDITIONS PRECEDENT

       A l l conditions precedent to recovery have been performed, waived, or have occurred.




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                                                 V. FACTS

A.       Plaintiff is the owner of insurance Policy Number 43-PV-7515-8 issued by Defendant, State

         Farm (hereinafter referred to as the "Policy").

B.       Plaintiff owned the insured property, which is specifically located at 540 N . Palomino Dr.,

         Lancaster, Dallas County, Texas 75146 on March 23, 2013 (hereinafter referced to as the

         "Property").

C.       Defendant State Farm or its agent sold the Policy, msuring the Property, to Plaintiff.

D.       On or about March 23, 2013, a wind and hailstorm struck the Dallas, Texas area causing

         severe damage to homes and businesses throughout the area, including Plaintiffs Property.

E.       Plaintiff submitted a claim to State Farm against the Policy for roof damage and water

         damage the Property sustained as a result of the wind and hailstorm. Plaintiff asked that

         State Farm cover the cost of repairs to the Property pursuant to the Policy and any other

         available coverages under the Policy.

F.       Defendants have assigned claim number 43-353M-994 to Plaintiffs claim.

G.      Defendant Leinenger was the agent for State Farm and represented State Farm in regard to

        Plaintiffs claim. Leinenger also adjusted the Plaintiffs claim by investigating, processing,

        evaluating, approving, and/or denying, in whole or in part, Plaintiffs claim. As such,

        Leinenger acted as an insurance adjuster engaged in the business of insurance with respect

        to the Plaintiffs insurance claim. Therefore, Leinenger is a "person" who is individually

        liable for his unfair methods of competition or unfair or deceptive acts or practices under the

        Texas Insurance Code and the DTPA. Furthermore, Leinenger acted as the agent and

        representative for State Farm in this claim.




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    H.    Defendant Leinenger improperly adjusted the Plaintiffs claim. Defendant Leinenger

          conducted a substandard inspection, which is evidenced in his report, which failed to include
                                      1
          many of Plaintiff s damages. His estimate did not allow adequate funds to cover repairs to

         restore Plaintiffs home. Without lknitation, Leinenger misrepresented the cause of, scope

         of, and cost to repair the damage to Plaintiffs Property, as well as the amount of and
                                                                                          2
         insurance coverage for Plaintiffs claim/loss under Plaintiffs insurance policy. Leinenger

         made these and other misrepresentations to Plaintiff as well as to State Farm. Plaintiff and

         State Farm both relied on Leinenger's misrepresentations, including but not limited those

         regarding the cause of, scope of, and cost to repair the damage to Plaintiffs Property, and

         Plaintiff has been damaged as a result of such reliance. Leinenger's misrepresentations

         caused State Farm to underpay Plaintiff on her insurance claim and, as such, Plaintiff has

         not been able to properly and completely repair the damages to Plaintiffs property. This

         has caused additional, further damage to Plaintiffs property. Leinenger also advised

         Plaintiff as to how she could repair her Property so as to prevent further damage to the
                             3
         Plaintiffs Property. This advice was negligent and false because it turns out Plaintiff could

         not properly repair her Property and prevent future damage by following Leinenger's

         advice. Plaintiffs Property has sustained further damages as a result.

I.       Defendants State Farm and Leinenger misrepresented that the damages caused by the wind
                                                           4
         and hailstorm were under the policy deductible.       However, Defendants' representations

         were false because Plaintiffs wind and hailstorm damages exceed $28,000.00.




1
  See Exhibit A: Defendant Leinenger's Denial Letter Dated 10/17/13.
2
Id.
"Id.


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    J.    Defendants State Farm and Leinenger failed to properly adjust the claims and Defendants

          have denied at least a portion of the claims without an adequate investigation, even though

          the Policy provided coverage for losses such as those suffered by Plaintiff.

    K.    These false representations allowed Defendants to financially gain by wrongfully denying

          at least a portion of Plaintiff s claim.

    L.    Plaintiffs claim(s) still remain- unpaid and the Plaintiff still has not been able to properly

          repair the Property.

    M.    Defendant Jackson was the agent for State Farm and represented State Farm in regard to

          Plaintiffs claim. Jackson also wrongfully denied Plaintiffs repeated attempts to schedule a

          re-inspection. Jackson's conduct of denying requests for re-inspection is evidence of

          Defendant's bad faith in the handling of Plaintiff s claim.

N.        Defendant State Farm failed to perform its contractual duty to adequately compensate

          Plaintiff under the terms of the Policy. Specifically, Defendant failed and refused to pay the

          full proceeds of the Policy, although due demand was made for proceeds to be paid in an

          amount sufficient to cover the damaged Property and all conditions precedent to recovery

          upon the Policy had been earned out and accomplished by Plaintiff. Defendant's conduct

          constitutes a breach of the insurance contract between Defendant and Plaintiff.

O.       Defendants misrepresented to Plaintiff that the damage to the Property was not covered

         under the Policy, even though the damage was caused by a covered occurrence.

         Defendants' conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

         Practices. TEX. INS. CODE Section 541.060(a)(1).




5
    See Exhibit B: Defendant Jackson's Letter of Denial Dated 6/18/14.
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     Defendants failed to make an attempt to settle Plaintiffs claim in a fair manner, although

     they were aware of their liability to Plamtiff under the Policy.        Defendants' conduct

     constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.

     CODE Section 541.060 (a)(2)(A).

    Defendants failed to explain to Plaintiff the reasons for their offer of an inadequate

    settlement. Specifically, Defendants failed to offer Plaintiff adequate compensation, without

    any explanation why full payment was not being made. Furthermore, Defendants did not

    communicate that any future settlements or payments would be forthcoming to pay for the

    entire losses covered under the Policy, nor did they provide any explanation for the failure to

    adequately settle Plaintiffs claim. TEX. INS. CODE Section 541.060(a)(3).

    Defendants failed to affirm or deny coverage of Plaintiffs claim within a reasonable time.

    Specifically, Plaintiff did not receive timely indication of acceptance or rejection, regarding

    the full and entire claim, in writing from Defendants. Defendants' conduct constitutes a

    violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

    Section 541.060(a)(4).

    Defendants refused to fully compensate Plaintiff, under the terms of the Pohcy, even though

    Defendants failed to conduct a reasonable investigation.           Specifically, Defendants

   performed an outcome-oriented investigation of Plaintiff s claim, which resulted in a biased,

   unfair and inequitable evaluation of Plaintiffs' losses to the Property. Defendants' conduct

   constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.

   CODE Section 541.060 (a)(7).

   Defendants failed to meet their obligations under the Texas Insurance Code regarding timely

   acknowledging Plaintiffs claim, beginning an investigation of Plaintiffs claim and



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         requesting all information reasonably necessary to investigate Plaintiffs claim within the

         statutorily mandated deadline. Defendants' conduct constitutes violation of the Texas

         Insurance Code, Prompt Payment of Claims, TEX. INS. CODE Section 542.055.

U.       Defendants failed to accept or deny Plaintiffs full and entire claim within the statutory

         mandated deadline of receiving all necessaiy information. Defendants' conduct constitutes

         violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE

         Section 542.056.

V.       Defendants failed to meet their obligations under the Texas Insurance Code regarding

         payment of claim without delay. Specifically, Defendants have delayed full payment of

         Plaintiffs claim longer than allowed and, to date, Plaintiff has not yet received full payment

         for her claim. Defendants' conduct constitutes violation of the Texas Insurance Code,

         Prompt Payment of Claims, TEX. INS. CODE Section 542.058.

W.       From and after the time Plaintiffs claim was presented to Defendants, the liability of

         Defendants to pay the full claim in accordance with the terms of the Pohcy was reasonably

         clear. However, Defendants have refused to pay Plaintiff in full, despite there being no

         basis whatsoever on which a reasonable insurance company would have relied to deny the

         full payment. Defendants' conduct constitutes a breach of the common law duty of good

        faith and fair dealing.

X.      As a result of Defendants' wrongful acts and omissions, Plaintiff was forced to retain the

        professional services of the attorney and law firm who is representing Plaintiff with respect

        to these causes of action.

Y.      Plaintiffs experience is not an isolated case. The acts and omissions of Defendants

        committed in this case, or similar acts and omissions, occur with such frequency that they



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           constitute a general business practice of Defendants with regard to handling these types of

          claims. Defendants' entire process is unfairly designed to reach favorable outcomes for the

          company at the expense of the policyholder.

                                   VI. THEORIES OF LIABILITY

A. Cause of Action for Breach of Contract Against State Farm

          Plaintiff realleges and incorporates by reference all previous and subsequent paragraphs

herein.

          According to the Insurance Policy that Plaintiff purchased, State Farm has the duty to

investigate and pay Plaintiffs policy benefits for claims made for covered damages, including

additional benefits under the Policy, resulting from the wind and hailstorm. As a result of the

wind and hailstorm and/or ensuing losses from the wind and hailstorm, both of which are

covered perils under the Policy, Plaintiffs Property has been damaged.

          Defendant's failure and refusal, as described above, to pay the adequate compensation as

it is obligated to do under the terms of the Policy in question and under the laws of the State of

Texas, constitutes a breach of Defendant's contract with Plaintiff. As a result of this breach of

contract, Plaintiff has suffered the damages that are described in this petition.

B. Cause of Action for Violation of Section 542 Against State Farm and Leinenger

          Plaintiff realleges and incorporates by reference all previous and subsequent paragraphs

herein.

          Defendants' acts, omissions, failures and conduct that are described in this petition

violate Section 542 of the Texas Insurance Code. Within the timeframe required after the receipt

of eitlier actual or written notice of Plaintiffs claim, Defendants did not request from Plaintiff

any items, statements, and forms that they reasonably believed at that time would be required



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 from Plaintiff for Plaintiffs claim. As a result, Defendants have violated Section 542 by failing

 to accept or reject Plaintiffs claim in writing within the statutory timeframe. Defendants also

 violated Section 542 by failing to pay Plaintiffs claim within the applicable statutory period. In

 addition, in the event it is determined Defendants owe Plaintiff any additional monies on

Plaintiffs claim, Defendants have automatically violated Section 542 in this case.

C. DTPA Cause of Action Against State Farm, Leinenger and Jackson

          Plaintiff realleges and incorporates by reference all previous and subsequent paragraphs

herein.

          Plaintiff incorporates all the allegations in this petition for this cause of action against

Defendants under the provisions of the DTPA. Plaintiff is a consumer of goods and services

provided by Defendants pursuant to the DTPA. Plaintiff has met all conditions precedent to

bringing this cause of action against Defendants. Specifically, Defendants' violations of the

DTPA include, without limitation, the following matters:

          By then acts, omissions, failures, and conduct that are described in this petition,

Defendants have violated Sections 17.46 (b)(2), (5), (7), (9), (12), (20) and (24) of the DTPA. In

this respect, Defendants' violations include, without limitation, (1) their unreasonable delays in

the investigation, adjustment and resolution of Plaintiff s claim, (2) their failure to give Plaintiff

the benefit of the doubt, and (3) then failure to pay for the proper repair of Plaintiffs home on

which liability had become reasonably clear, which gives Plaintiff the right to recover under

Section 17.46 (b)(2).

       As described in this petition, Defendants represented to Plaintiff that their insurance

policy and Defendants' adjusting and investigative services had characteristics or benefits that it

did not have, which gives Plaintiff the right to recover under Section 17.46 (b)(5) of the DTPA;



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        As described in this petition, Defendants represented to Plaintiff that their insurance

 policy and Defendants' adjusting and investigative services were of a particular standard, quality,

 or grade when they were of another in violation of Section 17.46 (b)(7) of the DTPA;

        As described in this petition, Defendants advertised their insurance policy and adjusting

and investigative services with uitent not to sell them as advertised in violation of Section 17.46

(b)(9) of the DTPA;

        As described in this petition, Defendants represented to Plaintiff that their insurance

policy and Defendants' adjusting and investigative services conferred or involved rights,

remedies, or obligations that it did not have, which gives Plaintiff the right to recover under

Section 17.46 (b)(12) of the DTPA;

       As described in this petition, Defendants failed to disclose information concerning goods

or services which were known at the time of the transaction and such failure to disclose was

intended to induce Plaintiff into a transaction into which the Plaintiff would not have entered had

the information been disclosed, which gives Plaintiff the right to recover under Section 17.46

(b)(24) of the DTPA;

       Defendants have breached an express warranty that the damage caused by the wind and

hailstorm would be covered under the insurance policies. This breach entitles Plaintiff to recover

under Sections 17.46 (b)(12) and (20) and 17.50 (a)(2) of the DTPA;

       Defendants' actions, as described in this petition, are unconscionable in that they took

advantage of Plaintiffs lack of knowledge, ability, and experience to a grossly unfair degree.

Defendants' unconscionable conduct gives Plaintiff the right to relief under Section 17.50(a)(3)

of the DTPA; and




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          Defendants' conduct, acts, omissions, and failures, as described in this petition, are unfair

practices in the business of insurance in violation of Section 17.50 (a)(4) of the DTPA.

          A l l of the above-described acts, omissions, and failures of Defendants are a producing

cause of Plaintiffs damages that are described in this petition. All of the above-described acts,

omissions, and failures of Defendants were done knowingly and intentionally as those terms are

used in the Texas Deceptive Trade Practices Act.

D. Cause of Action for Unfair Insurance Practices Against State Farm, Leinenger and

Jackson

          Plaintiff realleges and incorporates by reference all previous and subsequent paragraphs

herein.

          Plaintiff incorporates all the allegations in this petition for this cause of action against

Defendants under the Texas Insurance Code. Plaintiff has satisfied all conditions precedent to

bringing this cause of action. By their acts, omissions, failures, and conduct, Defendants have

engaged in unfair and deceptive acts or practices in the business of insurance in violation of 541

of the Texas Insurance Code.         Such violations include, without limitation, all the conduct

described in this petition plus Defendants' unreasonable delays in the investigation, adjustment,

and resolution of Plaintiffs claim and Defendants' failure to pay for the proper repair of

Plaintiffs home on which liability had become reasonably clear.               They further include

Defendants' failure to give Plaintiff the benefit of the doubt. Specifically, Defendants are guilty

of the following unfair insurance practices:

          A.     Engaging in false, misleading, and deceptive acts or practices in the business of

                 insurance in this case;

       B.        Engaging in unfair claims settlement practices;




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           C.     Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the

                  coverage at issue;

           D.     Not attempting in good faith to effectuate a prompt, fair, and equitable settlement

                  of claims submitted in which liability has become reasonably clear;

          E.      Failing to affirm or deny coverage of Plaintiffs claim within a reasonable time;

          F.      Refusing to pay Plaintiffs claim without conducting a reasonable investigation

                  with respect to the claim; and

          G.      Failing to provide promptly to a policyholder a reasonable explanation of the

                  basis in the insurance policy in relation to the facts or applicable law for the

                  denial of a claim or for the offer of a company's settlement.

          Defendants have also breached the Texas Insurance Code when they breached their duty

of good faith and fair dealing. Defendants' conduct as described herein has resulted in Plaintiffs

damages that are described in this petition.

          A l l of the above-described acts, omissions, and failures of Defendants were done

knowingly as that term is used in the Texas Insurance Code.

E.   Cause of Action for Breach of Duty of Good Faith and Fair Dealing Against State

Farm, Leinenger and Jackson

          Plaintiff realleges and incorporates by reference all previous and subsequent paragraphs

herein.

          Plaintiff incorporates all the allegations of the preceding paragraphs for this cause of

action. By its acts, omissions, failures and conduct, Defendants have breached their common

law duty of good faith and fair dealing by failing to pay the proper amounts on Plaintiffs entire

claim without any reasonable basis and by failing to conduct a reasonable investigation to



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 determine whether there was a reasonable basis for this denial. Defendants have also breached

 this duty by unreasonably delaying payment of Plaintiffs entire claim and by failing to settle

 Plaintiffs entire claim because Defendants knew or should have known that it was reasonably

 clear that the claim was covered. These acts, omissions, failures, and conduct of Defendants are

 a proximate cause of Plaintiff s damages.

F. Cause of Action for Fraud Against State Farm, Leinenger and Jackson

          Plaintiff realleges and incorporates by reference all previous and subsequent paragraphs

herein.

          Plaintiff incorporates all the allegations of the preceding paragraphs for this cause of

action. The Defendants, jointly and severally, made false representations and/or false promises

to Plaintiff. These false representations and/or false promises made by the Defendants were

material misrepresentations or omissions of fact upon which the Defendants intended that

Plaintiff would rely, and upon which Plaintiff did reasonably rely to his detriment. The

representations and/or promises by the Defendants were false and were made either intentionally

or recklessly without regard to their truth or falsity and with the intent to induce Plaintiff into

purchasing the insurance policy at issue and/or to accept as true and correct the adjustment of

Plaintiffs claim. As a result of the material misrepresentations and omissions upon which

Plaintiff detrimentally relied, Plaintiff has suffered damages substantially in excess of the

minimum jurisdictional limits of this Court.

       The fraudulent acts and/or omissions of the Defendants, as set forth herein, are sufficient,

under Chapter 41 of the Texas Civil Practices and Remedies Code, to justify the imposition of

punitive damages against Defendants.




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           Plaintiff seeks herein, as a result of the Defendants' fraud, Plaintiffs actual damages,

 consequential damages, incidental damages, compensatory damages, mental anguish damages,

 punitive damages, costs of court, pre-judgment interest, and post-judgment interest.

 G. Cause of Action for Conspiracy Against State Farm, Leinenger and Jackson

           Plaintiff realleges and incorporates by reference all previous and subsequent paragraphs

 herein.

           Plaintiff incorporates all the allegations of the preceding paragraphs for this cause of

action. The Defendants were members of a combination of two persons; the object of the

combination was to accomplish an unlawful purpose and/or a lawful purpose by unlawful means

as set forth in the factual allegations and causes of action detailed above, including, but not

limited to, to violate the DTPA, to violate Section 542 and 541 of the Texas Insurance Code, to

commit unfair and deceptive insurance practices, to commit fraud and fraudulent inducement, to

commit breaches of contract, and to commit breaches of the duty of good faith and fair dealing;

the Defendants had a meeting of the minds on the object or course of action; one or more of the

Defendants committed an unlawful, overt act, including, but not limited to violating the DTPA,

violating Section 542 and 541 of the Texas insurance Code, committing unfair and deceptive

insurance practices, committing fraud and fraudulent inducement, committing breaches of

contract, and committing breaches of the duty of good faith and fair dealmg to further the object

or course of action which, among other things, was intended to deprive the Plaintiff of the

benefit and coverage of the insurance Policy that he purchased; and Plaintiff suffered injury as a

proximate result of the wrongful act(s) and/or omission(s).

       The conspiratorial acts committed by the Defendants set forth herein were committed

with gross negligence, fraud and/or malice, as those terms are used in Chapter 41 of the Texas



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 Civil Practices and Remedies Code, such as to justify the imposition of punitive damages against

the Defendants.

        Plaintiff seeks, as a result of the Defendants' conspiracy as set forth herein, Plaintiffs

 actual damages, consequential damages, incidental damages, compensatory damages, mental

anguish damages, punitive damages, pre-judgment interest, post-judgment interest, costs of

court, expenses of the litigation, and reasonable and necessary attorneys' fees through trial and

all appeals in this matter, as allowed by law.

H. Cause of Action for Aiding and Abetting Against State Farm, Leinenger and Jackson

Plaintiff realleges and incorporates by reference all previous and subsequent paragraphs and

allegations herein.

        1. Assisting or Encouraging

        The Defendants cornrnitted a tort or torts against the Plaintiff, as described and pled for

herein, including, but not limited to, to violate the DTPA, to violate Section 542 and 541 of the

Texas Insurance Code, to commit unfair and deceptive insurance practices, to commit fraud and

fraudulent inducement, to commit breaches of contract, and to commit breaches of the duty of

good faith and fair dealing. The other Defendant(s) had knowledge that the primary actor's

conduct constituted a tort or torts. The other Defendant(s) had the intent to assist the primary

actor in committing the tort(s). The other Defendant(s) gave the primaiy actor assistance or

encouragement. The other Defendant(s)' assistance or encouragement was a substantial factor in

causing the tort(s).   Therefore, all of the Defendant(s) are considered tortfeasors and are

responsible for the consequences of the tort(s), including joint and several liability for the

damages suffered by the Plaintiff as described herein.




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        The assisting or encouraging "aiding and abetting" acts committed by the Defendants set

 forth herein were committed with gross negligence, fraud and/or malice, as those terms are used

 in Chapter 41 of the Texas Civil Practices and Remedies Code, such as to justify the imposition

 of punitive damages against the Defendants.

        Plaintiff seeks, as a result of the Defendants' assisting or encouraging "aiding and

abetting" acts as set forth herein, Plaintiffs actual damages, consequential damages, incidental

damages, compensatory damages, mental anguish damages, punitive damages, attorney's fees

through trial and all appeals in this matter, expert witness fees, costs of court, costs for copies of

depositions, pre-judgment interest, and post-judgment interest, as allowed by law.

        2. Assisting and Participating

        The Defendants committed a tort or torts against the Plaintiff, as described and pled for

herein, including, but not limited to, to violate the DTPA, to violate Section 542 and 541 of the

Texas Insurance Code, to commit unfair and deceptive insurance practices, to commit fraud and

fraudulent inducement, to commit breaches of contract, and to commit breaches of the duty of

good faith and fair dealing. The primary actor's activity accomplished a tortious result. The

other Defendant(s) provided substantial assistance to the primary actor in accomplishing the

tortious result. The other Defendant(s)' own conduct, separate from the primary actor's, was a

breach of duty to the Plaintiffs. The other Defendant(s)' participation was a substantial factor in

causing the tort or torts. Therefore, all of the Defendants are considered tortfeasors and are

responsible for the consequences of the tort(s), including joint and several liability for the

damages suffered by the Plaintiff as described herein.

       The assisting and participating "aiding and abetting" acts committed by the Defendants

set forth herein were committed with gross negligence, fraud and/or malice, as those terms are



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 used in Chapter 41 of the Texas Civil Practices and Remedies Code, such as to justify the

 imposition of punitive damages against the Defendants.

          Plaintiff seeks, as a result of the Defendants' assisting and participating "aiding and

 abetting" acts as set forth herein, Plaintiffs actual damages, consequential damages, incidental

damages, compensatory damages, mental anguish damages, punitive damages, attorney's fees

through trial and all appeals in this matter, expert witness fees, costs of court, costs for copies of

depositions, pre-judgment interest, and post-judgment interest, as allowed by law.

I. Cause of Action for Negligence and Gross Negligence Against Leinenger

          Plaintiff realleges and incorporates by reference all previous paragraphs and allegations

herein.

          The Defendant Leinenger was negligent in giving advice to Plaintiff as to how he could

repair her Property so as to prevent further damage to the Plaintiffs Property. This advice as to

how to repair Plaintiffs Property was negligent because Plaintiff could not properly repair her

Property and prevent future damage by following Leinenger's advice. Plaintiffs Property has

sustained further damages as a result. Leinenger owed a duty to use reasonable care when he

undertook to advise the Plaintiff as to how he could repair her Property so as to prevent further

damage to the Plaintiffs Property. Defendant Leinenger breached this legal duty. The breach

proximately caused injury to the Plaintiff.

          The acts and failures to act set forth herein were committed with gross negligence, as this

term is used in Chapter 41 of the Texas Civil Practices and Remedies Code, such as to justify the

imposition of exemplary damages against the Defendant Leinenger.




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 J. Cause of Action for Negligent Misrepresentation Against Leinenger

            Plaintiff realleges and incorporates by reference all previous and subsequent paragraphs

 and allegations herein.

            Additionally and/or in the alternative, the above and foregoing acts and omissions of

 Defendant Leinenger constitute negligent misrepresentations that have caused damages to

 Plaintiff. Defendant Leinenger made representations to Plaintiff in the course of Plaintiffs

 business or in a transaction in which Defendant had an interest. The Defendant supplied false

 information for the guidance of others, including Plaintiff. The Defendant did not exercise

reasonable care or competence in obtaining or communicating the infoimation to Plaintiff.

Plaintiff justifiably relied upon such representations,          and the Defendant's negligent

misrepresentations proximately caused further damages to Plaintiffs Property.

         The misrepresentations, acts and/or failures to act set forth herein were committed with

gross negligence, fraud and/or malice, as those terms are used in Chapter 41 of the Texas Civil

Practices and Remedies Code, such as to justify the imposition of punitive damages against

Defendant Leinenger.

        Plaintiff seeks herein, as a result of Defendant's negligent misrepresentations, Plaintiffs

actual damages, consequential damages, incidental damages, compensatory damages, mental

anguish damages, punitive damages, costs of court, pre-judgment interest, and post-judgment

interest.

                                 V I L WAIVER AND E S T O P P E L

        Defendants have waived and are estopped from asserting any coverage defenses,

conditions, exclusions, or exceptions to coverage not contained in any reservation of rights letter

to Plaintiff.



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                                        VIII. DAMAGES

        The above described acts, omissions, failures and conduct of Defendants has caused

 Plaintiffs damages, which include, without limitation, the cost to properly repair Plaintiffs

property and any investigative and engineering fees incurred in the claim. Plaintiff is also

 entitled to recover consequential damages from Defendant's breach of contract. Plaintiff is also

entitled to recover the amount of Plaintiffs claim plus an 18% per annum penalty on that claim

against Defendant as damages under Section 542 of the Texas Insurance Code, plus prejudgment

interest and attorneys fees. In an effort to comply with Rule 47(c) of the Texas Rules of Civil

Procedure, Plaintiff seeks monetary relief over $100,000.00 but not more than $200,000.00,

including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney

fees. Therefore, all the damages described in this petition are within the jurisdictional limits of

the Court.

                                IX. ADDITIONAL DAMAGES

       Defendants have also "knowingly" and "intentionally" committed deceptive trade

practices and unfair insurance practices as those terms are defined in the applicable statutes.

Because of Defendants' knowing and intentional misconduct, Plaintiff is entitled to additional

damages as authorized by Section 17.50(b)(1) of the DTPA. Plaintiff is further entitled to the

additional damages that are authorized by Section 541 of the Texas Insurance Code.

                                X. E X E M P L A R Y DAMAGES

       Defendants' above and foregoing acts and omissions, as set forth above, were done

intentionally, with a conscious indifference to the rights and welfare of Plaintiff, and with

"rnalice" as that term is defined in Chapter 41 of the Texas Civil Practice and Remedies Code.



                                         Page 19 of 21
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These violations by Defendants are the type of conduct which the State of Texas protects its

citizen against by the imposition of exemplary damages. Therefore, Plaintiff seeks the recovery

of exemplary damages in an amount to be determined by the finder of fact that is sufficient to

punish Defendants for their wrongful conduct and to set an example to deter Defendants and

others similarly situated from committing similar acts in the future.

                                   XI, ATTORNEYS' F E E S

       As a result of Defendants' conduct that is described in this petition, Plaintiff has been

forced to retain the undersigned attorneys to prosecute this action and have agreed to pay

reasonable attorneys' fees. Plaintiff is entitled to recover these attorneys' fees under Chapter 38

of the Texas Civil Practices and Remedies Code, Sections 541 and 542 of the Texas Insurance

Code, and Section 17.50 of the DTPA.

                                     XII. JURY DEMAND

       Plaintiff asserts Plaintiffs right to a trial by jury, under Texas Constitution Article 1,

Section 15, and makes this demand for a jury trial at least 30 days before the date this case is set

for trial, in accordance with Texas Rule of Civil Procedure 216. Plaintiff tenders the fee of

$30.00, as required by Texas Government Code Section 51.604.




                                          Page 20 of 21
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                                  XIII, REQUEST FOR DISCLOSURE

        Pursuant to Texas Rule of Civil Procedure 194.2, Plaintiff requests that Defendants

disclose, witiiin 30 days of the service: of this request, the information or material described in

Rule 194.2 (a) - 1 .

                                          XIV, PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited to

appear and answer herein, and that upon trial hereof, said Plaintiff have and recover such sums as

would reasonably and justly compensate her in accordance with the rules of law and. procedure,

both, as to actual damages, consequential damages, treble damages under the Texas Insurance

Code and Texas Deceptive Trade Practices Act, and all punitive, additional, and exemplary

damages as may be found. I n addition. Plaintiff requests the award of attorney's fees for the trial

and any appeal of this case, for all costs of court, for prejudgment and post-judgment interest as

allowed by law, and for . any other and further relief, at law or in equity, to which she may show

herself to be: justly entitled.

                                              Respectfully submitted^

                                              SPEIGHTS & WORRICH
                                               1350 North Loop 1604 K. Suite 104
                                                                          s


                                              San Antonio, Texas 78232
                                              (2.1.0) 495-6789 (Telephone)
                                              (210) 495-6790 (Facsimile)



                                              By: . .     -- .          ; - *« •
                                                    JACEY L." HORNECKER
                                                    Texas State Bar No. 24085383
                                                   j acey@spei.ghtsfmn.com

                                              ATTORNEY FOR PLAINTIFF


                                           Page 21 of 21
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   Providing Insurance and Financial Services
   Home Office, Bbomlngton, it                                                            StateFarnr

  October 18, 2013

  Gail Epkin                                                  State Farm Claims
  540 N Palomino Dr                                           P.O. Box 2323
  Lancaster TX 75146-2000                                     Bloomington IL 61702-2323




  RE:      Claim Number:              43-353M-994
           Policy Number:             43PV75158
           Date of Loss:              March 23,2013

  Dear Gail Epkin:

  Thank you for the opportunity to discuss your loss at the above address on October 17, 2013.

  State Farm® agrees there is covered damage caused by hail to the areas which we have
  itemized in our estimate. Please note, the claim adjustment for these covered damages reflects
  the applicable policy deductible.

  Our adjustment reflects these covered damages as indicated below.

  Building:

          State Farm Estimate $667.90
          Less Depreciation   $101.50

          Less Deductible:           $1,709.00

          Total Payable              $Loss beiow deductible

 Since the loss is less than your $1,709.00 deductible, no payment can be made at this time, if
 you receive estimates related to this loss that exceed your deductible please promptly forward
 these for our review prior to repairing or replacing the property.

 State Farm also observed that there are a number of roof shingles that do not have any damage.
 The policy insures for accidental direct physical loss. Please refer to the following applicable
 part of your policy:

                                       SECTION I - LOSSES INSURED

    COVERAGE A - DWELLING

    We insure for accidental direct physical loss to the property described in Coverage A, except
    as provided in SECTION I - L O S S E S NOT INSURED.
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EPKIN, JAMES-                                                                                                      43-353M-994




                                                      State Farm
                                                    P.O. Box 2323
                                              Bloomington, I L 61702-2323
                                                  Fax: 1-877-732-6556



                                     S t r u c t u r a l Damage C l a i m P o l i c y


  When you have a covered structural damage claim to your real property, you should know:

      • We want you to receive quality repair work to restore the damages to your property,

     • We will provide you with a detailed estimate of the scope of the damage and costs of repairs. Should the
       contractor you select have questions concerning our estimate, they should contact your claim representative
       directly.

     • Depending upon the complexity of your repair, our estimate may or may not include an allowance for general
       contractor's overhead and profit. If you have questions regarding general contractor's overhead and profit and
       whether general contractor services are appropriate for your loss, please contact your claim representative
       before proceeding with repairs.

     • There may be building codes, ordinances, laws, or regulations that affect the repairs of your property. These
       items may or may not be covered by your policy. Please contact your'claim representative i f you have any
     . questions regarding coverage which may be available under your policy.

     • I f you select a contractor whose estimate is the same as or lower- than our estimate, based on the same scope of
       damages, we will pay based upon their estimate. If your contractor's estimate is higher than ours, you should
       contact your claim representative prior to beginning repairs.

    ' • State Farm® cannot authorize any contractor to proceed with work on your property. Repairs should proceed
        only with your authorization.

     • State Farm does not guarantee the qualitj' of the workmanship of any contractor or guarantee that the work will
       be accomplished within any specific time frame.

    • It is understood that the contractor is hired by you, our insured, and that they work for you - not State Farm.

 If you have any questions or need additional information regarding your claim, please contact your claim
 representative immediately.




    10/17/2013 10;36AM                                                                       132214.1 06-18-2009        Page: 1
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                                                                                                                                                           43-353M-994

               l                     m
                3teFann                    Building Estimate Summary Guide
                   Thfs summary guide is based on a sample estimate and is provided for reference only.

                                         Please refer to the estimate for specifics of your claim.


                                     State Farm Insurance                                                   1 Line Item T o t a l - Total value of all line

             Insured: Smith, Joe & Jane                              Estimate: 00-0000-000
           Property: 1 Main Street                             Claim number: 00-0000-000
                       Anywhere, IL 00000-0000                 Policy Number: 00-00-0000-0                              :           :;      :   T c?
                                                                                                            'y:i ;;co%-and'repairs;'' •:     ^: t ^yP':!$^K
     Type of Loss: Other                                            Price List: ILBL8F_MAR13
                                                                                Restoration/Service/    .2: GenoraLConfraQtor's .Overhead.and, [•
          Deductible: $1,000.00
                                                                                Remodel
                                                                                                                                                       :
                                                                                F = Factored In,                •'• 0«>prdinatiTO                 .; ?1 v ? f
                                                                                D = Do Not Apply
                                                                                                         3 RoplacomontCost Value (RCV)-
                                                                                                            :

                                     Summary for Dwelling                                               • • Eslimated-cpMife repaii of|:eg'ace ?i
                                                                                                        •: Vp'a^iSeE.pio^lW;. J jUtT-'-^.; fly
  Line Item Total (Tj
  Material Sales Tax                                       10.000% x 1,520.00
  Subtotal
  General Contractor Overhead [2]                                                                       ii.:-' amoutttmajbe elfgibleif^re^lawrneiSt;?
                                                                                                        f                                                     :

  General Contractor Profit                                                                              ^ T c ^ b e r i e f f t t e : , . ; ;r>^-V*fi7:%!i":'rSS

  Replacement Cost Value (Including Gener^&ntracto^^snead and                               7,326.12        a Deductible -iTheiinsurer,w)l(pay,for,:.»sj.
  Less Depreciation (Including Taxes) (Tj f ^ ^ ,                                            (832.50)         ibssesiCipitb'Ife
                                                                                                                 :
                                                                                                              of yoiiV applicable dM^                V-           :       :
  Less General Contractor Oveih^US P r o f | o n ^ | o v e r a w | p ^
                           •"^^SSKfe^ %. spa                  ja*"                                       6 Net Actual Ca-ih Value Payment
  Non - recoverable Deprea'ation| '^^5
                                     L
                                                                                             (166.50)
                                                                                                        i^v(ACV)^rTrfe:.reftair6rreplacemenlicosh
  Less Deductible [SI                                                                                       of the damaged part of the property                       1




  Net Actual Cash V!
                                                                                                            7. Non Recoverable Depreciation -
              •MaxirrfurffM&jtibnal Amounts Available If Incurred:                                          ;;l0e)vecte^^^
                                                                                                            :


 ^^^^^^^^         1       ^
 ToraffflftStBS^epr^lation (Including Taxes) (?j                         832.50
 Less^on - recHerable Depreciation (Including Taxes) jT[
                                                                                                        8 Total Maximum Additional Amount if
 Subtotal/                                                                         312.50               v'^lr^un^MTd^iaM^pn^:;               -'
                                                                                                        rVvrecdybrabi.odepfeciatto
 General Contractor O&P on Depreciation                                  166.50
 Less General Contractor O&P on Non - recoverable Depreciation
                                                                                                        9: 'Total Amount of Claim if.Incurred^:.;;,
 Subtotal
 Total Maximum Additional Amounts Available If Incurred Q[j                                             ., •. aicllial cask. value-payment and totali
 Total Amount of Claim If Incurred [9]




 Claim Representative

 ALL AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND LIMITS OF
 YOUR POLICY.




                                                                                                                                            139928.1 Of-23-2013
1002989
Date:       10/17/2013 10:36AM                                                                                                                              Page: 2
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                                                            State Farm
  EPKIN, JAMES                                                                                                  43-353M-994

               Insured;    EPKIN, JAMES                                        Estimate:    43-353M-994
              Property;    540 N Palomino Dr                             Claim Number:      43353M994
                           Lancaster, T X 75146-2000                     Policy Number:     43-PV-7515-8
                Home:      972-227-8452                                       Price List:   TXDF28_OCTI3
               Cellular:   214-454-7848                                                     Restomtion/Service/Rcmodel
         Type of Loss:     Hail
           Deductible:     $1,709.00
         Date of Loss;     3/23/2013
        Date Inspected:    10/17/2013
                               Summary for Coverage A - Dwelling - 35 Windstorm and Hail
         Line Item Total                                                                                      658.32
         Material Sales Tax                                                                                     9.58

         Replacement Cost Value                                                                                667.90
         Less Depreciation (Including Taxes)                                                                  (101.50)
         Less Deductible                                                                                    (1,709.00)

         Actual Cash Value Total                                                                            (1,142.60)
         Net Actual Cash Value Payment                                                                          $0.00


                                     Maximum Additional Amounts Available If Incurred:
         Total Line Item Depreciation (Including Taxes)                          101.50
         Less Actual Cash Value Total                                         (1,142.60)

         Subtotal                                                            (1,041.10)
         Replacement Cost Benefits                                                          -1,041.10

         TotaI'Maximum Additional Amount Available If Incurred                                                  0.00
         Total Amount of Claim If Incurred                                                                     $0.00




        Leinenger,Jared
        866-787-8676x 1774
        A L L AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND
        LIMITS OF YOUR POLICY.




Date:    10/17/2013 10:36 AM                                                                                        Page: 3
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                                                                 State Farm
  EPKIN, JAMES                                                                                                             43-353M-994

                                                                   Dwelling
                                                                  Dwelling


                  16' 6"~

          ~    n"           J ^ ^ h    Roof

                                                    3,148.04 Surface Area                            31.48 Number of Squares
                                                      293.27 Total Perimeter Length                  71.00 Total Ridge Length
                                                      167,46 Total Hip Length




    DESCRIPTION                        QUANTITY UNIT PRICE                           TAX      RCV         DEPREC.      .      ACV

    ***No new discernable storm related damage found to shingles during on site instigation,***

    Pea size hail damage found to soft metal turtle and exhaust vent caps.

   1. R&RRaincap-4"to5"                  2.00 EA        24.84                        2.12     51,80          (16,29)            35.51

   2. Prime & paint roof vent            2.00 E A       23.01                         0,99    47.01          (16.46)          30.55

   3. R&R Roof vent-turtle               5,00 EA        42.46                         6.47   218.77          (68.75)         150,02
   type - Metal

   Totals: Roof                                                                      9.58    317.58          101.50          216.08




   Front Elevation
                       0.00 SF Walls                            0.00 SF Ceiling                . 0.00 SF Walls & Ceiling
                       0,00 SF Floor                            0.00 SF Short Wall               0.00 L F Floor Perimeter
                       0.00 SFLongWall                                                           0.00 L F Ceil. Perimeter

  DESCRIPTION                         QUANTITY UNIT PRICE                            TAX     RCV         DEPREC.              ACV

   No storm related damage found to elevation during on site investigation.

  Totals: Front Elevation                                                            0.00     0.00             0.00             0,00




  Right Elevation
                      0.00 SF Walls                         0.00 SF Ceiling                      0,00 SF Walls & Ceiling
                      0.00 SF Floor                         0.00 SF Short Wall                   0.00 L F Floor Perimeter
                      0.00 SFLongWall                                                            0.00 LFCeil. Perimeter

  DESCRIPTION                     QUANTITY UNIT PRICE                            TAX         RCV        DEPREC.              ACV

  No storm related damage found to elevation during on site investigation.

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                                                             State Farm
   EPKIN, JAMES                                                                                                         43-353M-994


                                                   CONTINUED - Right Elevation




    DESCRIPTION                   QUANTITY UNIT PRICE                             TAX       RCV         DEPREC.               ACV
    Totals: Right Elevation                                                        0.00      0.00              0.00            0.00




    Rear Elevation
                     0.00 SF Walls •                         0.00 SF Ceiling                       0.00 SF Walls & Ceiling
                     0.00 SF Floor                           0,00 SF Short Wall                    0.00 L F Floor Perimeter
                     0.00 SFLongWall                                                               0.00 L F Ceil. Perimeter

    DESCRIPTION                  QUANTITY UNIT PRICE                              TAX       RCV         DEPREC.               ACV

    No storm related damage found to elevation during on site investigation.

   Totals: Rear Elevation                                                         0.00       0.00             0.00             0.00




   Left Elevation
                     0.00 SF Walls                          0.00 SF Ceiling                        0.00 SF Walls & Ceiling
                     0.00 SF Floor                          0.00 SF Short Wall                     0.00 L F Floor Perimeter
                     0,00 SFLongWall                                                               0.00 L F Ceil, Perimeter

   DESCRIPTION                   QUANTITY UNIT PRICE                             TAX       RCV          DEPREC.               ACV

   No storm related damage found to elevation dtiring on site investigation.

   Totals: Left Elevation                                                         0.00      0.00              0.00            0.00




  Debris Removal
                    0.00 SF Walls                           0.00 SF Ceiling                    0.00 SF Walls & Coiling
                    0.00 SF Floor                           0,00 SF Short Wall                 0.00 L F Floor Perimeter
                    0.00 SFLongWall                                                            0.00 L F Ceil. Perimeter

  DESCRIPTION                   QUANTITY UNIT P R I C E                          TAX       RCV         DEPREC.                ACV

  4, Haul debris - per pickup          I.OOEA      101.74                        0.00     101.74                          101.74
  truck load - including dump
  fees


  Totals: Debris Removal                                                         0.00     101.74             0.00         101.74


Date:   10/17/2013 10:36 AM
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                                                         State Farm
  EPKIN, JAMES                                                                                           43-353M-994
    Area Totals: Dwelling
                 160.68 Exterior Wall Area
               3,148.04 Surface Area                 31.48 Number of Squares        586.55 Total Perimeter Length
                  71.00 Total Ridge Length          167.46 Total Hip Length

    Total; Dwelling                                                      9,58   419.32        101.50        317.82

    Area Totals: Dwelling
                 160.68 Exterior Wall Area
               3,148.04 Surface Area                 31.48 Number of Squares        586.55 Total Perimeter Length
                  71.00 Total Ridge Length          167.46 Total Hip Length

   Total: Dwelling                                                       9.58   419.32        101.50        317.82




   Labor Minimums Applied

   DESCRIPTION                  QUANTITY UNIT P R I C E                 TAX      RCV      DEPREC.            ACV

   5, Roofing labor minimum         1.00 EA     133.40                  0.00    133.40                      133.40

   6. Painting labor minimum        1.00 EA     115.18                  0.00    115.18                      115.18


   Totals: Labor Minimums Applied                                       0.00    248.58         0.00         248.58


   Line Item Totals; 43-353M-994                                        9.58    667.90       101.50         566.40




   Grand Total Areas:

               160.68 Exterior Wall Area

             3,148.04 Surface Area                 31.48 Number of Squares        586.55 Total Perimeter Length
                71.00 Total Ridge Length          167.46 Total Hip Length




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Dwelling
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                                                                                                   State Farm
  State Farm Fire and Casualty Company




  Speights & Worrich
  Benjamin B. Doherty
  1350 N. Loop 1604 E., Suite 104
  San Antonio, TX 78232
                                                                       State Farm Insurance Companies
                                                                       Fire Claims Weather
                                                                       PO Box 2323
                                                                       Bioomington, IL 61702-2323
  RE:      Claim Number:            43-353M-994
           Date of Loss:            March 23,2013                      Claim Representative: Kevin Jackson


  Dear Mr. Doherty:


  Please allow this letter to serve as a follow-up to your communication dated July 7, 2014, regarding your
  request for a reinspection of the additional roof damages claim.

 Our inspection and investigation on October 17, 2013 by Claim Representative Jared Leinenger and Mr.
 and Mrs. Epkin's chosen contractor, Julio Davila and Farnhan Merchant of Roofing Giant determined that
 Mr. and Mrs. Epkin sustained covered damages in the amount of $667.90. After accounting for the $1,709
 deductible and $101,50 of depreciation, the loss was determined to be under the deductible and no
 payment was owed under the terms of the policy. I have enclosed a copy of the estimate for the covered
 damages. It is important to note that at that inspection, both the scope of the damages and the evaluation
 of the damages were agreed to by all parties to the investigation, including CR Leinenger and Mr. and
 Mrs. Epkin's chosen contractors. As a result of our evaluation and investigation of the damages as
 supported by the approval of Mr. and Mrs. Epkin's chosen contractor, we must reaffirm our decision
 communicated to you in our letter dated March 27, 2014 where you were advised that we wouid not
 conduct a second or additional inspection for this loss.

 Our investigation and evaluation of your loss has also determined that a portion of the roof damages is
 not covered by the policy. Our inspection revealed the 11 year old 3 tab roofing shingles had damage
 consisting of nail pops, heat blisters, and foot fall from installation, marring, wear, tear and deterioration to
 the roofing system. The predominant cause of the damage for the non-covered damages is wear, tear,
 marring, deterioration, mechanical breakdown, workmanship and construction. The Homeowners Policy
 FP-7955 TX specifically excludes coverage for wear, tear, deterioration, design, workmanship and
 construction and states in part:

                                         HOMEOWNERS POLICY (FP-7955CA)

                                           SECTION I - L O S S E S INSURED

          C O V E R A G E A - DWELLING

         We insure for accidental direct physical loss to the property described in Coverage A,
         except as provided in SECTION 1 - L O S S E S NOT INSURED.

                                         SECTION I - L O S S E S NOT INSURED

                   1.        We do not insure for any loss to the property described in Coverage A which
                             consists of, or is directly and immediately caused by, one or more of the perils
                             listed in items a. through n. below, regardless of whether the loss occurs
                             suddenly or gradually, involves isolated or widespread damage, arises from
                             natural or external forces, or occurs as a result of any c o m b i n a t i o n ^ " ™ ? ?

                                                                                                Home
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                           g.      wear, tear, marring, scratching, deterioration, inherent vice,
                                   latent defect or mechanical breakdown;

                           h.      corrosion, electrolysis or rust;

                           However, we do insure for any resulting loss from items a. through m.
                           unless the resulting loss is itself a Loss Not Insured by this Section.

                  3.      We do not insure under any coverage for any loss consisting of one or more of
                          the items below. Further, we do not insure for loss described in paragraphs 1.
                          and 2. immediately above regardless of whether one or more of the following: (a)
                          directly or indirectly cause, contribute to or aggravate the loss; or (b) occur
                          before, at the same time, or after the loss or any other cause of the loss:

                          b.       defect, weakness, inadequacy, fault or unsoundness in:

                                   (1)     planning, zoning, development, surveying, siting;

                                   (2)     design, specifications, workmanship, construction, grading,
                                           compaction;

                                   (3)     materials used in construction or repair; or

                                  (4)      maintenance;

                                  of any property (including land, structures, or improvements of any kind)
                                  whether on or off the residence premises; or

                          However, we do insure for any resulting loss from items a., b. and c.
                          unless the resulting loss is itself a Loss Not Insured by this Section.

 I would like to make you aware of the following provision in the policy.

                                         SECTION I - CONDITIONS

                 6.       Suit Against Us. No action shall be brought unless there has been
                          compliance with the policy provisions and the action is started within two
                          years and one day after the date of loss or damage.

 In review of your documentation that you have supplied, you note the possibility of new or additional
 damages that may have occurred since the original October 17, 2013 inspection and investigation for
 these damages was completed. As stated before, we encourage Mr. and Mrs. Epkin to consider a new
 claim if they would like to pursue these damages further. At this time we are closing this claim file and
 reaffirm our prior decision. Thank you for allowing us to assist you with your claim. If you have questions,
 please call.

 Sincerely,



 Kevin Jackson
 Claim Representative
 877-787-8676 ext 9053
 State Farm Lloyds

 Enclosure: Damage Estimate dated 10/17/2013




                                                      2
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 E P K I N , JAMES                                                                                                        43-353M-994




                                                            State Farm
                                                           P.O. Box 2323
                                                    Bloomington, I L 61702-2323
                                                        Fax: 1-877-732-6556



                                           Structural Damage Claim Policy

        When you have a covered structural damage claim to your real.property, you should know:

           • We want you to receive quality repair work to restore the damages to your property.

           • We will provide you with a detailed estimate of the scope of the damage and costs of repairs. Should the
             contractor you select have questions concerning our estimate, they should contact your claim representative
             directly.

           • Depending upon the complexity of your repair, our estimate may or may not include an allowance for general
             contractor's overhead and profit. I f you have questions regarding general contractor's overhead and profit and
             whether general contractor services are appropriate for your loss, please contact your claim representative
             before proceeding with repairs.

           • There may be building codes, ordinances, laws, or regulations that affect the repairs of your property. These
             items may or may not be covered by your policy. Please contact your claim representative i f you have any
             questions regarding coverage which may he available under your policy.

           • I f you select a contractor whose estimate is the same as or lower than our estimate, based on the same scope of
             damages, we will pay based upon their estimate. I f your contractor's estimate is higher than ours, you should
             contact your claim representative prior to beginning repairs.

           • State F a n n ® cannot authorize any contractor to proceed with work on your property. Repairs should proceed
             only with your authorization.

           • State F a n n does not guarantee the quality of the workmanship of any contractor or guarantee that the work will
             be accomplished within any specific time frame.

           • It is understood that the contractor is hired by you, our insured, and that they work for you - not State Farm.


    I f you have any questions or need additional information regarding your claim, please contact your claim
    representative immediately.




Date:     10/17/2013 10:36 A M                                                                      132214.1 06-18-2009        Page: 1
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                                                                                                                                                  43-353M-994

            L
             dteFartTI*                      Building Estimate Summary Guide
                T h i s summary guide is based on a sample estimate and is provided for reference only.
                                      Please refer to the estimate for specifics of your claim.


                                    State Farm Insurance                                                      1. Line Item Total - Total value of all line .
                                                                                                                 itemsin the estimate plus possible
                                                                  Estimate:        00-0000-000                   adjustments for labor minimums. Labor
          Insured: Smith, Joe & Jane
                                                                                                               . -Minimum is to cover a certain minimum
          Property: 1 Main Street                           Claim number:          00-0000-000                   number of hours for drive-time, set up
                                                            Policy Number:        00-00-0000-O                   time and applicable administrative
                    Anywhere, IL 00000-0000
                                                                                                                 costs and repairs.
   Type of Loss:    Other                                        Price List:      ILBL8FJVIAR13
                                                                                  Restoration/Service/        2. General Contractor's Overhead and
      Deductible:   $1,000.00
                                                                                  Remodel                        Profit - General contractor's charge for
                                                                                  F = Factored In,               coordinating your repairs.
                                                                                  O = Do Not Apply
                                                                                                              3. Replacement Cost Value (RCV) -
                                    Summary for Dwelling                                                         Estimated cost to repair or replace
                                                                                                                 damaged property.
 Line Item Total FfJ                                                                             5,953.10
                                                                                                              4. Depreciation - The decrease in the
 Material Sales Tax                                @    10.000% x 1,520.00                                        value of property over a period of time
 Subtotal                                                         :,
                                                                .. - --miii:                   "6,105 10          due to wear, tear, condition, and
                                                                                                                  obsolescence. A portion or all of this
 Genera! Contractor Overhead [ ? ]                 @      10 0% x 6,106 10                        610 51          amount may be eligible for replacement
 General Contractor Profit                         @        10 0%x 6 1 0 5 1 0                                  . cost benefits. ' ..

 Replacement Cost Value (Including GonoraLGontractor.Overhead and Profit HO                    7,326,12       5. Deductible - The insurer will pay f o r ,
 Less Depreciation (Including Taxes) [ 4 j                                                       (832.50)        losses, up to the policy limits, in excess
                                                                                                                 of your applicable deductible.. •
 Less General Contractor Overhead & Profit oh Recoverable &
 Non - recoverable Depreciation         _                                                        (166,50)     6. Net Actual C a s h Value Payment
                                                                                                                 (ACV) - The repair or replacement cost
                                              ::
 Less Deductible PH                          " «fii                                                              of the damaged part of the property
 Net Actual Cash vilueiEayment      If];-,                                                                       less depreciation and deductible.

                                                                                                              7. Non Recoverable Depreciation-.
                Maximum Additional Amounts Available If Incurred:                                                Depreciation applied to Items that are
                                                                                                                 not eligible for replacement cost .
ToWlWitSfrJbeprScla'tion (Including Taxes) FJ]                           832.50                                  benefits, .
Less Non - recoverable Depreciation (Including Taxes) [TJ
                                                                                                              8. Total Maximum Additional Amount if
Subtotal?                                                                             312.50                     Incurred - Total amount of
                                                                          166.50                                 recoverable depreciation after actual
 General Contractor O&P on Depreciation
                                                                                                                 repair or replacement of the property.
 Less General Contractor O&P on Non - recoverable Depreciation
                                                                                                              9. Total Amount of Claim if Incurred -
 Subtotal
                                                                                                                 Total amount of the claim, including net
 Total Maximum Additional Amounts Available If Incurred [ 8 ]                                                    actual cash value payment and total
                                                                                                                 maximum additional amount available ii
 Total Amount of Claim If Incurred [ 9 j
                                                                                                                 incurred.




 Claim Representative

 A L L AMOUNTS PAYABLE A R E SUBJECT TO THE TERMS, CONDITIONS AND LIMITS OF
 YOUR POLICY.




                                                                                                                                            139928.1 01-23-2013
10029B9
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                                                           State Farm
 EPKIN, I A M E S                                                                                              43-353M-994

               Insured:    EPKIN, JAMES                                       Estimate:    43-353M-994
              Property:    540 N Palomino Dr                            Claim Number:      43353M994
                           Lancaster, T X 75146-2000                    Policy Number:     43-PV-7515-8
               Home:       972-227-§452                                      Price List:   TXDF28_OCT13
              Cellular:    214-454-7848                                                    Restoration/Service/Remodel
         Type of Loss:     Hail
           Deductible:     $1,709.00
         Date of Loss:     3/23/2013
        Date Inspected:    10/17/2013

                               Summary for Coverage A - Dwelling - 35 Windstorm and Hail
         Line Item Total                                                                                      658.32
         Material Sales Tax                                                                                     9.58

         Replacement Cost Value                                                                               667.90
         Less Depreciation (Including Taxes)                                                                 (101.50)
         Less Deductible                                                                                   (1,709.00)

         Actual Cash Value Total                                                                           (1,142.60)
         Net Actual Casli Value Payment                                                                        $0.00



                                     Maximum Additional Amounts Available If Incurred:
         Total Line Item Depreciation (Including Taxes)                         101.50
         Less Actual Cash Value Total                                        (1,142.60)

         Subtotal                                                            (1,041.10)

         Replacement Cost Benefits                                                         -1,041.10

         Total Maximum Additional Amount Available If Incurred                                                  0.00

         Total Amount of Claim I f Incurred                                                                    $0.00




         Leinenger,Jared
         866-787-8676 x 1774
        A L L AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND
        LIMITS OF YOUR POLICY.




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                                                                   State Farm
 EPKIN, JAMES                                                                                                                43-353M-994

                                                                      Dwelling
                                                                      Dwelling




                                                       3,148.04 Surface Area                             31.48 Number of Squares
                                                        293.27 Total Perimeter Length                    71.00 Total Ridge Length
                                                         167.46 Total Hip Length




   DESCRIPTION                       Q U A N T I T Y UNIT P K I C E                     TAX       RCV        DEPREC.                ACV

   ***No new discernable storm related damage found to sliingles during on site investigation,***

   Pea size hail damage found to soft metal tur tle and exhaust vent caps.

   1. R&R Rain cap - 4" to 5"            2.00 E A          24.84                        2.12      51.80          (16.29)            35.51

   2. Prime & paint roof vent            2.00 E A          23.01                        0.99      47.01          (16.46)            30.55

  3. R & R Roof vent-turtle              5.00 E A          42.46                        6.47     218.77         (68.75)           150.02
  type - Metal


  Totals: Roof                                                                          9.58     317.58          101.50           216.08




  Front Elevation
                    0.00 S F Walls                                 0.00 SF Ceiling                     0.00 SF Walls & Ceiling
                    0.00 S F Floor                                 0.00 SF Short Wall                  0.00 L F Floor Perimeter
                    0.00 S F Long Wall                                                                 0.00 L F Ceil. Perimeter

  DESCRIPTION                    Q U A N T I T Y UNIT P R I C E                         TAX       RCV        DEPREC.               ACV

   No storm related damage found to elevation during on site investigation.


  Totals: Front Elevation                                                               0.00      0.00             0.00             0.00




  Right Elevation
                    0.00 SF Walls                                0.00 SF Ceiling                     0.00 SF Walls & Ceiling
                    0.00 S F Floor                               0.00 SF Short Wall                  0.00 L F Floor Perimeter
                    0.00 SF Long Wall                                                                0.00 L F Ceil. Perimeter

  DESCRIPTION                    Q U A N T I T Y UNIT P R I C E                       TAX        RCV        DEPREC.               ACV

  No storm related damage found to elevation during on site investigation.

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                                                                    State Farm
 EPKIN, JAMES
                                                                                                                                  43-353M-994



                                                        C O N T I N U E D - Right Elevation




   DESCRIPTION                       Q U A N T I T Y UNIT P R I C E                      TAX         RCV          DEPREC.                ACV
   Totals: Right Elevation                                                                0.00        0.00              0.00              0.00




   Rear Elevation
                     0.00 SF Walls                                  0.00 S F Ceiling                        0.00 SF Walls & Ceiling
                     0.00 SF Floor                                  0.00 SF Short Wall                      0.00 L F Floor Perimeter
                    0.00 SFLongWall                                                                         0,00 L F Ceil. Perimeter

   DESCRIPTION                       Q U A N T I T Y UNIT P R I C E                      TAX        RCV          DEPREC.                ACV

   No storm related damage found to elevation during on site investigation.


   Totals: Rear Elevation                                                                 0.00       0.00               0.00              0.00




  Left Elevation
                    0.00 S F Walls                                 0,00 S F Ceiling                         0.00 SF Walls & Ceiling
                    0.00 SF Floor                                  0.00 SF Short Wall                       0.00 L F Floor Perimeter
                    0.00 SF Long Wall                                                                       0.00 L F Ceil. Perimeter

  DESCRIPTION                        Q U A N T I T Y UNIT P R I C E                      TAX        RCV          DEPREC.                ACV

   No storm related damage found to elevation during on site investigation.


  Totals: Left Elevation                                                                 0.00        0.00              0.00              0.00




  Debris Removal
                    0.00 SF Walls                                  0.00 S F Ceiling                       0,00 SF Walls & Ceiling
                    0.00 S F Floor                                 0.00 S F Short Wall                    0.00 L F Floor Perimeter
                    0.00 SFLongWall                                                                     0.00 L F Ceil. Perimeter

  DESCRIPTION                    Q U A N T I T Y UNIT P R I C E                          TAX        RCV         DEPREC.                 ACV

  4. Haul debris - per pickup            1.00 E A         101.74                         0.00      101.74                              101.74
  truck load - including dump
  fees


  Totals: Debris Removal                                                                 0.00     101.74              0.00             101.74


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                                                           State Farm
 EPKIN, JAMES                                                                                                   43-353M-994
   Area Totals; Dwelling
                160.68 Exterior Wall Area
               3,148.04 Surface Area                  31.48 Number of Squares              586.55 Total Perimeter Length
                 71.00 Total Ridge Length             167.46 Total Hip Length

   Total: Dwelling                                                            9.58     419.32        101.50         317.82

   Area Totals: Dwelling
                160.68 Exterior Wall Area
              3,148.04 Surface Area                   31.48 Number of Squares              586.55 Total Perimeter Length
                 71.00 Total Ridge Length            167.46 Total Hip Length

   Total: Dwelling                                                            9.58     419.32        101.50         317.82




   Labor Minimums Applied

  DESCRIPTION                   QUANTITY UNIT P R I C E                   TAX           RCV      DEPREC.            ACV

   5. Roofing labor minimum            1.00 E A   133.40                      0.00     133.40                      133.40

   6. Painting labor minimum           1.00 E A   115.18                      0.00     115.18                      115.18


  Totals: Labor Minimums Applied                                           0.00        248.58          0.00        248.58


  Line Item Totals: 43-353M-994                                            9.58        667.90       101.50         566.40




  Grand Total Areas:

               160.68 Exterior Wall Area

             3,148.04 Surface Area                   31.48 Number of Squares             586.55 Total Perimeter Length
                71.00 Total Ridge Length            167.46 Total Hip Length




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Dwelling




                                                                    56' 6'




                                                                                                               Dwelling
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